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                                                     #:1
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                                                                                 ~_,,~ __~~    QRIGIl~L
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                    PAID                                                    _ _ __-
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     s
     6                1 I~              ~     UNITED STATES DISTRICT COURT
     7        C~erK, US ~istnct Court        CENTRAL DISTRICT OF CALIFORNIA
                    COURT 4612      ------
     g


     9                                                 L A S ~► 9
                                                    WESTE~2I~DIV~SIQN017                  7~   —~—+~    ~l'1~
    10     LOS ANGELES COUNTY, THE STATE OF                       Case No.
           CALIFORNIA and THE UNITED STATES OF
    11     AMERICA ex rel. Karen Gluck
                                                                  ORIGINAL COMPLAINT FILED
    12                        Plaintiffs,                         UNDER SEAL PURSUANT TO 31 U.S.C.
                                                                  § 3730(b)(2)
    13     VS. THOMAS SHEPOS, FRANK A. VISCO,
           ET AL., DONALD G. ABBEY, ET AL.,
    14     ARMAN GABAEE, ET AL., MARK GABAEE,
           ET AL., LEON NEMAN, ET AL., MORAD
    15     NEMAN, ET AL., YOEL NEMAN, ET AL.,
           JOHN NEMAN, ET AL., DAVID
    16     SCHAEFFER, ET AL., ALEX MORADI, ET
    1~     AL., ISAAC MORADI, ET AL., AND DOES 1-
           50.

    1g                        Defendants.
    19

    20                                               INTRODUCTION
    21
                    1.        Qui Tam Plaintiff Karen Gluck brings this suit against a group of commercial real
    22
           estate developers and a former Los Angeles County employee, Tom Shepos ("Shepos"), who
    23
    24     engaged in a decade's long bribery and kickback scheme to defraud Los Angeles County, the

    25     State of California, and the federal government through hundreds of millions of dollars in

    26     commercial real estate leases and other significant financial opportunities. This long-running and

    27     lucrative scheme would not have been discovered had it not been for the anginal source of all

    28     information related to the fraudulent scheme—Karen Gluck—who took it upon herself to work


                                                              1
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  1   with FBI investigators and the U.S. Attorney's Office to turn over evidence of the bribes received

  2   by her now-ex-husband Tom Shepos.
  3
              2.     Through the scheme, developers provided Shepos with (a) cash and bank deposits
  4
      on a monthly basis;(b) pre-paid credit and gift cards;(c) hundreds of thousands of dollars in free
  5
      home construction; (d) valuable tickets to concerts and sporting events; (e) plane tickets, hotel
  6

  7   stays, and trips to various destinations paid for by developers; and (~ property management

  8   contracts for Shepos' side business. In exchange, (1) developers minimized risk by getting

  9   assurances of future leases from the County employee before purchasing property to develop;(2)
 10
      developers secured above-market leases, often on a no-bid basis; (3) developers avoided paying
 11
      for repairs for which they were contractually obligated; and (4) developers were paid on
 12
      fraudulent invoices to the County for inflated utility costs and improvements that were never
 13
      made.
 14

 15           3.     Ms. Gluck's efforts to expose this scheme have resulted in the indictment of one

 16   developer with over $60 million in County leases, the initiation of a County investigation into

 17   Shepos' deals for the County, and the guilty plea of Shepos, who admits that the indicted
 18
      developer alone provided him with hundreds of thousands of dollars since 2010. But other
 19
      developers have thus far avoided detection.
 20
              4.     Ms. Gluck now seeks to help the County, the State, and the federal government ~
 21
      recover the money fraudulently obtained through the developers' illegal scheme.
 22

23                                                PARTIES

 24           5.     The plaintiffs consist of Los Angeles County, the State of California, and the ~

25    United States of America, all of which provided funds that paid for monthly lease payments and ~
26
      related charges under lease contracts with Los Angeles County that had been procured through ~
27
      various fraudulent acts.
28
              6.     The following individuals and entities participated in the fraudulent acts:

                                                       2
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  1           a) Thomas Shepos is a resident of California and can be found at with the address last

  2               listed on court documents as 4319 Bethpage Drive, Palmdale, CA 93551.
  3
              b) Arman Gabaee is a resident of California and can be found at 1468 Donhill Dr.,
  4
                  Beverly Hills, CA 90210-2216.
  5
              c) Mark Gabaee is a resident of California and can be found at 1468 Donhill Dr.,
  6

  7               Beverly Hills, CA 90210-2216.

  8           d) Corsair, LLC is a limited liability company organized under the laws of California

  9               with its principal place of business at 9034 W. Sunset Blvd., West Hollywood, CA
 10
                 90069.
 11
              e) The Charles Company is a partnership organized under the laws of California with
 12
                 its principal place of business at 9034 W. Sunset Blvd., West Hollywood, CA
 13
                 90069.
 14

 15           ~ Loma Vista LLC is a limited liability company organized under the laws of

 16              California with its principal place of business at 9034 W. Sunset Blvd., West ~I

 17              Hollywood, CA 90069.
 18
              g) Excel Property Management Services, Inc. is a corporation organized under the
 19
                 laws of California with its principal place of business at 9034 W. Sunset Blvd., ~
 20
                 West Hollywood, CA 90069.
 21
              h) M & A Gabae, LP is a limited partnership organized under the laws of California
 22

 2J              with its principal place of business at 9034 W. Sunset Blvd., West Hollywood, CA

 24              90069.

 25           i) Noble Investments, LLC is a limited liability company organized under the laws of
 26
                 California with its principal place of business at 9034 W. Sunset Blvd., West ~
 27
                 Hollywood, CA 90069.
 28
             j) Endure, LLC is a limited liability company organized under the laws of California ~
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  1               with its principal place of business at 9034 W. Sunset Blvd., West Hollywood, CA

  2              90069.
  3
              k) Leon Neman is a resident of California and can be found at 803 Foothill Rd.,
  4
                 Beverly Hills, CA 90210-2903.
  5
              1) Morad Neman is an individual residing at 805 N. Linden Dr., Beverly Hills, CA
  6

  7              90210-3007.

  8           m)Yoel Neman is a resident of California and can be found at 803 Foothill Rd.,

  9              Beverly Hills, CA 90210-2903.
 10
              n) Neman Brothers &Associates, Inc. is a corporation organized under the laws of
 11
                 California with its principal place of business at 1525 S. Broadway St., Los
 12
                 Angeles, CA 90015.
 13
              o) Vertigo Real Estate Holdings, LP is a limited partnership organized under the laws
 14

 15              of California with its principal place of business at 1525 S. Broadway St., Los

 16              Angeles, CA 90015.

 17           p) Legend Real Estate Management, Inc. is a corporation organized under the laws of
 18
                 California with its principal place of business at 1525 S. Broadway St., Los
 19
                 Angeles, CA 90015.
 20
              q) Donald G. Abbey is an individual residing at 81885 Andalusia, La Quinta, CA
 21
                 92253-8263.
 22

 23           r) Nittany Lion Landscaping, Inc. is a corporation organized under the laws of

 24              California with its principal place of business at 12447 Lewis Street, Suite 203 ~

 25              Garden Grove, CA 92840.
26
              s) AP-Palmdale LLC is a limited liability company organized under the laws of ~
 27
                 California with its principal place of business at ]2447 Lewis Street, Suite 203,
28
                 Garden Grove, CA 92840.

                                                 4
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  1           t) AP-Commerce Plaza LLC is a limited liability company organized under the laws
  2               of Delaware with its principal place of business in 14770 E Firestone Blvd Suite
  3
                  206, La Mirada, CA 90638.
  4
              u) The Abbey Management Co, LLC is a limited liability company organized under
  5
                  the laws of California with its principal place of business at 12447 Lewis Street,
  6

  7               Suite 203, Garden Grove, CA 92840.

  8           v) AP-Sierra LLC is a limited liability company organized under the laws of

  9               California with its principal place of business at 12447 Lewis Street, Suite 203,
 10
                  Garden Grove, CA 92840.
 11
              w)DA Properties LLC is a limited liability company organized under the laws of
 12
                 Delaware with its principal place of business at 310 Golden Shore Suite 300, Long
 13
                 Beach, CA 90802.
 14

 15           x) Abbey-Properties LLC is a limited liability company organized under the laws of

 16              California with its principal place of business at 12447 Lewis Street Suite 203,

 17              Garden Grove, CA 92840.
 18
              y) Frank A. Visco is an individual residing at 393 W. Stafford Rd., Thousand Oaks,
 19
                 CA 91361-5065.
 20
              z) David Schaeffer is an individual residing at 1600 W. Bedford St., Dimmitt, Texas
 21

 22              79027-2711.

 23           aa) FCG Properties, LLC is a limited liability company organized under the laws of ~

 24              Texas with its principal place of business in Dimmitt; Texas.
 25           bb)Castaic FCG Properties, LLC is a limited liability company organized under the ~
 26
                 laws of Texas with its principal place of business at 16150 Parish Hall Dr., Spring, ~
 27
                 Texas 77379-6630.
 28
              cc) Alex Maradi is a resident of California and can be found at 9301 Wilshire B1., ~

                                                   5
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  1                   Beverly Hills, CA 90210.

  2                dd)Isaac Moradi is a resident of Califarnia and can be found at 9301 Wilshire Bl.,

                      Beverly Hills, CA 90210.
  4
                  ee) Imperial Hawthorne Limited Partnership is a limited partnership organized under
  5
                      the laws of California with its principal place of business in 9301 Wilshire Blvd.,
  6

  7                   Suite 315, Beverly Hills, CA 90210.

  8               f~ ICO Investment Group, Inc. is a corporation organized under the laws of

  9                   California with its principal place of business in 9301 Wilshire Blvd., Suite 315,
 10
                      Beverly Hills, CA 90210-6132.
 11
                  gg)Plaintiffs are ignorant of the true names and capacities of the defendants sued
 12
                      herein as Does 1-50 and therefore sue these Defendants by such fictitious names.
 13
                      On information and belief, Does 1-50 includes additional business entities tied to
 14

 15                   Defendants and used to advance fraudulent acts.        Plaintiffs will amend this

 16                   complaint to allege the true names and capacities of these Defendants when they

 17                   are ascertained. Plaintiffs are informed and believe that each fictitiously named
 18
                      Defendant is legally liable as alleged herein.
 19
                                               JURISDICTION
 20
             7.       Under 31 U.S.C. § 3732(a), this Court has subject matter jurisdiction over all
 21
      alleged violations of 31 U.S.C. § 3730, the federal False Claims Act ("FCA"). Under 31 U.S.C. ~
 22

 23   § 3732(b), this Court also has jurisdiction over all alleged violations of Cal. Gov't Code § 12651, ~

 24   the Califon~ia False Claims Act("CFCA")

 25                                                 FACTS
26
             Gluck Discovers Shepos' Fraudulent Scheme.
27
             8.       When Karen Gluck ("Gluck") and Tom Shepos ("Shepos") married in August ~
28
      1996, Shepos ran his own business managing small strip-mall properties called "CT

                                                        6
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  1   Management." Around 1997, the Real Estate and Leasing Division of the Los Angeles County

  2   Chief Executive Office hired Shepos.

              9.       Shepos' role with the County gave him the authority to bind the County to real
  4
      estate transactions and manage ongoing commercial relationships. Often these leases were on
  5
      behalf of government departments seeking space, such as property for a school or a health clinic.
  6

  7   However, Shepos also purchased land on behalf of the County for environmental restoration

  8   efforts and other green space initiatives and was privy to non-public information as to future

  9   development plans. In theory, Shepos should have acted on behalf of County clients and sought
 10
      public and transparent bids in order to ensure the County paid a fair market rate. In practice,
 11
      Shepos accepted bribes in order to act on behalf of billion-dollar commercial real estate
 12
      companies, funneling hundreds of transactions to them on a no-bid basis so that they could bilk
 13
      tax payers for above market rents, phantom improvement charges, and inflated management costs
 14

 15   and utilities.

 16           10.      Gluck's suspicions were raised in March 2010 when she found Shepos' gambling

 17   winnings tax form from the Palm Springs Spa Hotel &Casino with containing what appeared to
 18
      be a false social security number. Gluck also found a few pages from a CT Management credit
 19
      card statement, which indicated that Shepos had taken a $30,000 cash advance. A short while
 20
      later, Gluck discovered Shepos' handwritten notes indicating he had taken cash advances totaling
 21
      $48,000 through a credit card in order to direct cash to Frank Visco. Gluck later found credit card
 22

 23   statements confirming the $48,000 in cash advances. After these discoveries, she began looking

 24   through Shepos' files and belongings when she was left alone in the home.

 25           1 1.     In October 2010, Gluck found $5,000 in cash in Shepos' sock drawer. Gluck's
 26
      discovery of cash put into perspective some of the odd behavior she had seen over the years:
27
      Shepos dropping off envelopes in private mailboxes at night, Shepos socializing with County
28
      clients, Shepos traveling to Lancaster, California, every Wednesday to meet in-person with the ~

                                                      7
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  1   same commercial developer who also called Shepos daily.
  2           12.    Gluck then demanded a key from Shepos for his P.O. Box in Santa Monica owned
  3
      by Shepos. Gluck went to the P.O. Box, opened the box and observed a label indicating mail
  4
      could be received for both Shepos and Arman Gabae. Gluck later found Shepos used P.O. Box to
  5
      receive bank statements and credit card statements for accounts she didn't know about.
  6

  7           13.    After trying to move past Shepos' suspicious conduct in order to save the

  8   marriage, Gluck ultimately filed for divorce in 2011.

  9           14.    Beginning in September 2012, while divorce proceedings were pending, Shepos
 10
      filed for multiple bankruptcies in order stay the divorce proceedings and to increase Gluck's legal
 11
      costs. Shortly after the divorce filing, Gluck removed numerous boxes of paperwork from the
 12
      family storage unit. Gluck believed Shepos' bankruptcy filings were fraudulent and began
 13
      searching for evidence of Shepos' assets by reviewing the boxes of documents that had been in
 14

 15   the family storage unit, the family email account, and a discarded old smart phone. Additionally,

 16   Gluck went to each of the banks with which they had maintained joint bank accounts and asked

 17   whether Shepos maintained any other separate accounts. Gluck found several bank accounts and
 18
      dozens of credit cards she was not aware of during her marriage. The bank statements revealed
 19
      monthly direct deposits and numerous cash deposits ranging from $4,000 to $8,000.
 20
             15.    In the boxes, she found over thirty credit cards, evidence of numerous addresses
 21
      and P.O. Boxes used by Shepos, checks written from CT Management to a redevelopment
 22

 23   executive with the City of Lynwood who happens to be a former employee of The Charles ~

 24   Company, and paper records indicating a widespread bribery scheme implicating multiple real
 25   estate development companies.
 26
             16.    In the family email account, Gluck found that Shepos had been using the personal ~
 27
      email address to coordinate real estate deals and payments with numerous developers. In one
 28
      email in particular, Shepos had provided a developer with the name and social security number of ~
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  1   his roammate in order to receive a bribe. Gluck also discovered that in addition to the family
  2   email address "TJS2291 @aol.com," her husband had created the nearly identical email address
  3
      "TJS2292@aol.com" and attributed it to Gluck's sister. And on Shepos' phone, Gluck found
  4
      some developers' numbers listed under fake names, such as "Dad."
  5
             B.        Shepos' Scheme Involves Numerous, Significant Real Estate Developers and
  6
                       Hundreds of Millions of Dollars' Worth of Leases and Agreements.
  7
             17.        Gluck's records indicate how the developers were able to profit from leases
  8
      obtained through the fraudulent scheme with Shepos:
  9
                    a) Above-Market Leases Worth Hundreds of Millions of Dollars: County leases
 10
                       range between a few hundred thousand dollars per-year to a few million dollars
 11                    per-year, with 5- and 10-year terms being most common. Developers obtained
                       these substantial leases at above-market rates.
 12
                    b) Fraudulent Reimbursements: The leases also include "improvement
 13                    reimbursements" under which the developers were able to submit for
                       reimbursement expenses they incurred in maintaining the building. Shepos
 14                    received invoices from developers and simply had the County send reimbursement
 15                    checks, without any further proof that the work had actually been performed (in at
                       least some cases, it had not). Developers obtained substantial reimbursements for
 16                    improvements that were never made.

 17                 c) Maintenance Fees and Utility Costs: The leases also established that the developer
                       could charge maintenance fees and pass on utility costs to the County. On
 18                    information and belief, the developers obtained additional County money to which
                       they were not entitled by passing on inflated maintenance and utility costs to the
 19
                       County.
 20
             1 8.      The documents also identify specific entities and individuals as being most
 21
      involved in the fraudulent scheme:
 22
                       A. Mark Gabaee and Arman Gabaee
 23

24           19.       Founded by Mark and Arman Gabaee in 1979, the Charles Company owns 5

25    million square feet of commercial real estate in Southern California and Nevada. The Charles

26    Company—and other entities owned by the Gabaees—has done over $100 million in transactions
27
      with the County as part of the fraudulent scheme. Evidence of the fraudulent scheme includes:
28
                    a) Based on the evidence provided to the FBI by Ms. Gluck, Arman Gabaee has been
                       indicted by the federal government. Arman Gabaee was recorded offering Shepos
                                                        9
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   1                    a $11 million residential property as a bribefor a no-bid contract. Shepos has
                        pled guilty to receiving bribes from Arman Gabaee.
   2

   3                b) Plane tickets for Shepos and Arman Gabaee to Las Vegas.

   4                c) Email to Shepos seeking W-9 information for Shepos' roommates in order to hide
                       bribe.
   5

   6                d) APO Box jointly held by Shepos and Arman Gabaee.

   7                e) Email from Mark Gabaee to Shepos' personal email account intended to reduce
                       Gabaee's financial risk by asking for Shepos' "thoughts" on a property before
   8
                       Gabaee committed to purchasing it.
  9
                    ~ Charles Company employee emailed Shepos' family email address to notify him
  10                  that Shepos and Arman's House of Blues membership cards had arrived.
  11
                    g) Shepos used a Southwest Airlines account registered under Arman Gabaee's name.
  12
                    h) An invoice for construction material used on Shepos and Gluck's home that was
 13                    paid by Arman and Mark Gabaee's company. Gluck has no record of Shepos
 14                    repaying the Gabaees for the work done for their home construction (the same is
                       true for other developers below).
 15
                    i) An engineering report for Shepos and Gluck's home prepared and submitted by
 16
                       Gabaee's construction engineer.
 17
                    j) A Las Vegas convention registration form listing Shepos as an employee of the
 18                    Charles Company. The registration form was attached to a receipt from Arman
 19                    Gabaee showing Shepos' registration fee had been paid by Gabaee.

 20                 k) Numerous emails involving Shepos providing County information to the Gabaees
                       using his personal email address.
 21
                    1) The Gabaees—along with the Donald G. Abbey—paid for and executed the
 22
                       construction of Shepos and Gluck's home.
 23
                       B. Donald G. Abbey
 24
              20.      Donald Abbey runs one of the largest commercial real estate development ~
 25
       companies in the country. Through the Abbey Company and dozens of project-specific LLCs,
 26

 27    Donald Abbey has done a large number of transactions with the County. The evidence of

 28    Abbey's involvement in the bribery scheme includes:


                                                      10
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   1                a) Donald Abbey—along with the Gabaees—paid for and executed the construction
                       of Shepos and Gluck's home, including providing Shepos with a Home Depot
   2                   credit card.
   3
                    b) Shepos' records show that Abbey's construction companyNL Services—and
  4                    landscaping companyNittany Lions Landscaping issued Shepos invoices for
                       over $480,000. On information and belief, Shepos received that labor and material
   5                   as a bribe from Donald Abbey and never actually paid any invoices.

  6                     C. Frank Visco and David Schaeffer
  7
              21.       Lancaster, California businessman Frank Visco played a significant role in
  8
       organizing the bribery scheme, including organizing the no-bid deals in the Antelope Valley.
  9
       Shepos met with Visco each Wednesday in Lancaster to coordinate their fraudulent conduct.
  10
       Visco was compensated, in part, by other commercial real estate entities and contractors for
  11

 12    arranging no-bid deals on their behalf.

 13           22.      David Schaeffer is an example of an individual who received County contracts

 14    through Visco and in turn provided compensation to Visco. The County's contract for the Castaic
 15
       Library was awarded to a Texas entity owned by David Schaeffer, yet Visco received County
 16
       checks for alleged tenant improvements to a P.O. Box in Lancaster, California.
 17
              23.      The evidence of Visco and Schaeffer's involvement in the bribery scheme
 18
       includes:
 19

 20                 a) Shepos accidentally called Ms. Gluck during a meeting with Visco in Lancaster
                       and left a voicemail. Visco can be heard on the recording saying,"no bid." Visco
 21                    and Shepos also discussed cash payments. Shepos suggested making the payments
                       in the name of Visco's secretary's daughter, to which Visco replied, "get the
 22                    family out."
 23
                    b) On behalf of FCG Properties, a company to which he has no known legal
 24                    connection, Visco submitted improvement reimbursement forms with invoices
                       from his construction company. Shepos approved the reimbursement requests and
 25                    made the reimbursements payable to Frank Visco directly—made to his P.O. Box.

 26                 c) Visco provided Shepos trips to various destinations where together they frequented
                       resorts and casinos.
 27
                    d) Shepos took frequent trips with Frank Visco's employee, Michele Lantz.
 28


                                                        11
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   1                e) Shepos took out numerous life insurance policies through Visco's insurance
                       company, Visco Financial Insurance Services in Lancaster.
   2
                    ~ In January 2010, Gluck celebrated Shepos' 60th birthday at a high-end spa resort,
   3
                      which resulted in a substantial invoice. Several years later Gluck discovered the
   4                  invoice for the weekend at the spa resort, which revealed a room for Frank Visco
                      and a $5,000 gift certificate provided on information and belief—by Visco
   5                  covering the charges on the bill.

  6                 g) Contracts indicating that Shepos purchased land on behalf of the County directly
                       from Visco. According to the contract, the land was purchased to ensure a certain
  7
                       portion of the county remained in a natural state.
   8
                       D. Alex and Isaac Moradi
  9
              24.      Founded in 1966, Alex and Isaac Moradi's ICO Group owns over 3,000,000
  10
       square feet of commercial real estate. The Moradis are also relatives of Arman and Mark Gabaee,
  11
       owners of the Charles Company. Alex and Isaac Moradi have done millions of dollars in lease
  12

  13   transactions with the County. The evidence of the Moradis' involvement in the bribery scheme

  14   includes:

  15                a) Alex Moradi emailed Shepos' family email address, "WE can pick up bldg. for
  16                   good price" and asked whether Shepos would be able to line up a County need
                       before Moradi would decide to move forward with the purchase.
  17
                    b) Alex Moradi emailed Shepos' family email address, "Does County have need for
 18                    space in Santa Clarita? Great opportunity there!" Shepos responded,"Yes contact
                       me."
 19
                    c) Alex and Isaac Moradi sent an ornate gold vase to Shepos as a Holiday gift.
 20
                       E. The Neman Brothers
 21

 22           25.      The Neman brothers—Leon, Yoel, and John—own Neman Brothers &Associates ~

 23    Inc., a wholesale fabric business operating out of New York and Los Angeles. The brothers also ~

 24    own commercial real estate through holding companies such as Vertigo Real Estate Holdings LP ~
 25
       and Legend Real Estate Management, Inc. The evidence of the Nemans' involvement in the
 26
       bribery scheme includes:
 27
                    a) The Neman brothers did multiple transactions with Los Angeles County.
 28


                                                       12
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   1                 b) Shepos emailed Leon Neman with bribe instructions by noting, "commissions
                        payable to CT Management as has been done in the past."
   2
                     c) Multiple Form 1099s documenting payments from various Neman Brothers
   3
                        entities including the wholesale fabric company to CT Management.
   4
               26.     In addition to procuring contracts through fraudulent conduct and bribery, each
   5
       Defendant made false statements in connection with the execution of each lease. On information
  6
       and belief, each lease executed by Defendants contained the following representation: "Landlord
   7

  8    acknowledges that it is aware of the following provisions: [...] A landlord shall not offer or give,

  9    either directly or through an intermediary, consideration in any form to a County officer,

  10   employee or agent for the purpose of securing favorable treatment with respect to the award of
  11
       the Lease." Each Defendant made the false representation that he had not and would not engage
  12
       in bribery, and in turn, obtained lucrative government contracts based in part on those false
  13
       misrepresentations.
  14
              C.       Gluck Reports Shepos' Scheme to the FBI,DOJ,and County Officials.
  15

  16          27.      After Gluck made sense of the documents she had uncovered, she knew she

  17   needed to act. At an event at Loyola Law School in 2-014, Gluck introduced herself to a speaker

 18    at the event, Ranee Katzenstein, Deputy Chief of the Major Frauds Section of the Central District
 19
       of California's USAO. Shortly thereafter, Gluck met in person with Ms. Katzenstein, FBI Special
 20
       Agent Michael Chai, and the Central District of California's Chief of the Criminal Division
 21
       Lawrence Middleton. Gluck agreed to let the FBI copy the boxes of evidence she had obtained
 22
       from the family storage unit.
 23

 24           28.      In the middle of 2015, Gluck met with two FBI agents and the then-Chief of the ~

 25    Public Corruption and Civil Rights Section Brandon Fox, to discuss the evidence she had ~

 26    assembled in connection with her divorce with the assistance of a retired IRS agent.
 27
              29.      Gluck's cooperation with the FBI continued throughout 2016, with meeting in
 28
       January, April, August September, and November.

                                                       13
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   1           30.     In June 2017, Gluck met with County Investigators, Brian Campbell, and Bryan
   2   Bell, and voluntarily shared the information underlying this Complaint.
   3
               31.     On January 31, 2018, Gluck met with County Investigators, Brian Campbell,
   4
       Bryan Bell, and Amanda Andrews and California Department of Insurance Investigators Pollie
   5
       Pent and Randy Hudson and voluntarily shared the information underlying this Complaint.
  6

   7           32.     Ms. Gluck's efforts have resulted in the indictment of Arman Gabaee, the

  8    initiation of a County investigation into Tom Shepos' deals for the County, and the guilty plea of

  9    Tom Shepos, who admits that the indicted developer alone provided him with hundreds of
  10
       thousands of dollars since 2010.
  11
               33.     Based on the foregoing, Ms. Gluck is an original source of the information
  12
       underlying this Complaint because, at the very least, she (a) voluntarily disclosed to Los Angeles
  13
       County the information on which the allegations are based and (b) has knowledge that is
 14

 15    independent of, and materially adds to, any previous public disclosure relating to these allegations

 16    and provided those facts to Los Angeles County before filing this action.

 17                                       FIRST CLAIM FOR RELIEF
 18
                           (on behalf of Los Angeles County and the State of California)
 19
           Violation of the California False Claims Act, California Government Code ~ 12651(a)(1)
 20
              34.      The allegations contained in paragraphs 1 through 29 are incorporated in full as if i
 21
       set forth herein.
 22
              35.     Through the acts described above, the Defendants, their agents, and employees, ~
 23

 24    knowingly presented and caused to be presented materially false and fraudulent claims to the

 25    County, State, and Federal Governments, and knowingly failed to disclose material facts, in order ~
 26    to obtain payment and approval from the Plaintiffs.
 27
              36.     The County, State, and Federal Governments, unaware of the falsity of the claims ~
 28
       made and submitted by the Defendants, their agents, and employees, and as a result thereof paid ~

                                                        14
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   1   money that they otherwise would not have paid.
  2            37.     By reason of the payments made by the County, State, and Federal Governments
  3
       as a result of the Defendants' fraud, the County, State, and Federal Governments suffered
  4
       millions of dollars in damages and continue to be damaged.
  5
       Wherefore, Plaintiffs pray for relief as set forth below.
  6

  7                                      SECOND CLAIM FOR RELIEF

  8                        (on behalf of Los Angeles County and the State of California)

  9        Violation of the California False Claims Act, California Government Code § 12651(a)(2)

  10           38.     The allegations contained in paragraphs 1 through 29 are incorporated in full as if
 11
       set forth herein.
 12
              39.     Through the acts described above, the Defendants, their agents, and employees,
 13
       knowingly made, used, and caused to be made and used materially false records and statements,
 14
       which also omitted material facts, in order to induce the County, State, and Federal Governments
 15

 16    to approve and pay false and fraudulent claims.

 17           40.     The County, State, and Federal Governments, unaware of the falsity of the records,

 18    statements, and claims made and submitted by the Defendants, their agents, and employees, and
 19
       as a result thereof paid money that they otherwise would not have paid.
 20
              41.     By reason of the payments made by the County, State, and Federal Governments ~
 21
       as a result of the Defendants' fraud, the County, State, and Federal Governments have suffered ~
 22
       millions of dollars in damages and continue to be damaged.
 23

 24           42.     Wherefore, Plaintiffs pray for relief as set forth below.

 25                                      THIRD CLAIM FOR RELIEF
 26                        (on behalf of Los Angeles County and the State of California)
 27        Violation of the California False Claims Act, California Government Code ~ 12651(a)(3)
 28
              43.     The allegations contained in paragraphs 1 through 29 are incorporated in full as if


                                                         15
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   1   set forth herein.

  2            44.     Through the acts described above, the Defendants, their agents, and employees,
  3
       conspired to knowingly make, use, and cause to be made and used materially false records and
  4
       statements, which also omitted material facts, in order to induce the County, State, and Federal
  5
       Governments to approve and pay false and fraudulent claims.
  6

  7            45.     The County, State, and Federal Governments, unaware of the falsity of the records,

  8    statements, and claims made and submitted by the Defendants, their agents, and employees, and

  9    as a result thereof paid money that they otherwise would not have paid.
 10
               46.     By reason of the payments made by the County, State, and Federal Governments
 11
       as a result of the Defendants' fraud, the County, State, and Federal Governments have suffered
 12
       millions of dollars in damages and continue to be damaged.
 13
               47.     Wherefore, Plaintiffs pray for relief as set forth below.
 14

 15                                     FORTH CLAIM FOR RELIEF

 16                               (on behalf of the United States of America)

 17                        Violation of the False Claims Act, 31 U.S.C. ~ 3729(a)(1)(A)

 18           48.      The allegations contained in paragraphs 1 through 29 are incorporated in full as if
 19
       set forth herein.
 20
              49.     Through the acts described above, the Defendants, their agents, and employees,
 21
       knowingly presented and caused to be presented materially false and fraudulent claims to the
 22
       County, State, and Federal Governments, and knowingly failed to disclose material facts, in order ~
 23

 24    to obtain payment and approval from the Plaintiffs.

 25           50.     The County, State, and Federal Governments, unaware of the falsity of the claims ~

 26    made and submitted by the Defendants, their agents, and employees, and as a result thereof paid ~
 27
       money that they otherwise would not have paid.
 28
              51.     By reason of the payments made by the County, State, and Federal Governments ~

                                                        16
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   1   as a result of the Defendants' fraud, the County, State, and Federal Governments suffered

   2   millions of dollars in damages and continue to be damaged.
   3
       Wherefore, Plaintiffs pray for relief as set forth below.
   4
                                         FIFTH CLAIM FOR RELIEF
   5
                                   (on behalf of the United States of America)
  6
                           Violation ofthe False Claims Act, 31 U.S.C. § 3729(a (1)(B~
  7

   8           52.     The allegations contained in paragraphs 1 through 29 are incorporated in full as if

  9    set forth herein.

  10           53.     Through the acts described above, the Defendants, their agents, and employees,
  11
       knowingly made, used, and caused to be made and used materially false records and statements,
  12
       which also omitted material facts, in order to induce the County, State, and Federal Governments
  13
       to approve and pay false and fraudulent claims.
  14
               54.     The County, State, and Federal Governments, unaware of the falsity of the records,
 15

  16   statements, and claims made and submitted by the Defendants, their agents, and employees, and

  17   as a result thereof paid money that they otherwise would not have paid.

 18            55.     By reason of the payments made by the County, State, and Federal Governments
 19
       as a result of the Defendants' fraud, the County, State, and Federal Governments have suffered
 20
       millions of dollars in damages and continue to be damaged.
 21
               56.     Wherefore, Plaintiffs pray for relief as set forth below.
 22
                                         SIXTH CLAIM FOR RELIEF
 23

 24                               (on behalf ofthe United States of America)

 25                        Violation of the False Claims Act, 31 U.S.C. § 3729(,a~(1)(C)

 26           57.      The allegations contained in paragraphs ] through 29 are incorporated in full as if

 27    set forth herein.
 28
              58.     Through the acts described above, the Defendants, their agents, and employees, ~


                                                         17
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   1   conspired to knowingly make, use, and cause to be made and used materially false records and

   2   statements, which also omitted material facts, in order to induce the County, State, and Federal
   3
       Governments to approve and pay false and fraudulent claims.
   4
              59.       The County, State, and Federal Governments, unaware of the falsity of the records,
   5
       statements, and claims made and submitted by the Defendants, their agents, and employees, and
  6

  7    as a result thereof paid money that they otherwise would not have paid.

  8           60.       By reason of the payments made by the County, State, and Federal Governments

  9    as a result of the Defendants' fraud, the County, State, and Federal Governments have suffered
  10
       millions of dollars in damages and continue to be damaged.
  11
              61.       Wherefore, Plaintiffs pray for relief as set forth below.
  12
                                             PRAYER FOR RELIEF
  13
              62.       Qui Tam Plaintiff prays for judgment against the Defendants, and each of them, as
  14

  15   follows:

  16                a) For damages in an amount equal to three times the amount of damages the County,

  17                   State, and Federal Governments sustained as a result of the Defendants' unlawful
  18
                       conduct;
  19
                    b) For civil monetary penalties for each false and fraudulent claim submitted to the ~
 20
                       County, State, and Federal Governments;
 21
                    c) For attorneys' fees and costs, including the Qui Tam Plaintiffs attorneys' fees and
 22

 23                 d) For an order awarding the Qui Tam Plaintiff the maximum awards allowed by the ~

 24                    California False Claims Act and federal False Claims Act; and

 25                 e) For such other further relief as the Court may deem just and proper.
 26
                                                 JURY DEMAND
 27
             63.       Qui Tam Plaintiff Karen Gluck demands a trial by jury.
 28
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   2

   3   Dated: March 8, 2019
                                            SUSMAN GODFREY L.L.P.
  4

  5
                                            By: /s/Amanda Bonn
  6                                             Amanda Bonn
  7                                             AMANDA K. BONN (270891)
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  10                                            Facsimile (310) 789-3150
 11
                                                Attorneys for Qui Tam Plaintiff
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